                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF ALASKA


 RODNEY S. PEDERSON,

                         Plaintiff,                          Case No. 3:18-cv-00252-RRB

         vs.
                                                        ORDER GRANTING DEFENDANT
 WILLIAM MORSE, PRESIDING                               JUDGES’AMENDED MOTION TO
 JUDGE OF THE THIRD JUDICIAL                            DISMISS AND DISMISSING CASE
 DISTRICT AT ANCHORAGE, JUDGE                                    (Docket 21)
 MICHAEL COREY, ANCHORAGE
 TRIAL COURT, JUDGE ERIN
 MARSTON, ANCHORAGE TRIAL
 COURT, JUDGE ANDREW
 PETERSON, ANCHORAGE TRIAL
 COURT, JAMES E. TORGERSON,
 STOEL RIVES,

                         Defendants.




                                        I.   BACKGROUND

                At Docket 21 is an Amended Motion to Dismiss. Defendants, the Honorable Judge

William Morse, the Honorable Judge Michael Corey, the Honorable Judge Erin Marston, and the

Honorable Judge Andrew Peterson (collectively, “Defendant Judges” or “Defendants”), move to

dismiss Plaintiff’s claims against them pursuant to Federal Rules of Civil Procedure 12(b)(1), (6). 1




        1
            Docket 21 at 2.
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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The instant filing at Docket 21 amends and replaces Docket 14. Plaintiff did not file an opposition

to the amended motion, but did oppose 2 the initial motion to dismiss.3 Because Plaintiff has not

availed himself of multiple opportunities to submit an updated opposition, dating back to February

2019, and because the Court finds no need for one, the Court will decide the amended motion to

dismiss on the documents in the record.

                                             II.   FACTS

                The parties are aware of the general facts of this case. Here, Defendant Judges

move to dismiss all of Plaintiff’s claims against them. They argue that Plaintiff has failed to state

a claim upon which relief may be granted under Rule 12(b)(6). In the alternative, they argue that

this Court does not have jurisdiction under Rule 12(b)(1). 4 Defendants claim that this Court does

not have jurisdiction because Plaintiff has not alleged an “actual case or controversy” and cannot

demonstrate he suffered “actual injury resulting from illegal action,” and therefore his claims are

moot. 5 Defendants further argue that, even if the Court had jurisdiction, it must abstain from

considering the case until after Plaintiff’s state court case is resolved. To do otherwise, the

argument continues, would require this Court to impermissibly oversee and manage state court

judges in their judicial duties. 6

                While Plaintiff opposed the Defendant Judges’ original motion to dismiss, 7 he did

not respond to the amended motion to dismiss. 8 The Court assumes, however, that Plaintiff’s


         2
           Docket 24.
         3
           See Dockets 14 (withdrawn); 20; 22.
         4
           Docket 21 at 9–10.
         5
           Id. at 10.
         6
           Id. at 12–13.
         7
           Docket 24.
         8
           It appeared that Plaintiff was not aware that the Defendants had moved to withdraw their
original motion and replaced it with an amended motion. Dockets 20; 21; 22; 23. After Plaintiff
filed his opposition at Docket 24, counsel for Defendants believed it was responsive to their
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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general position is to oppose the amended motion, based on his filings at Dockets 24 and 26. As

indicated above, the Court will evaluate and resolve the motion to dismiss on the papers filed.

                                 III.   STANDARDS OF REVIEW

A.      Rule 12(b)(1) Motions to Dismiss

                 A Federal Rule of Civil Procedure 12(b)(1) motion to dismiss challenges the court’s

subject matter jurisdiction. Such a challenge “can be either facial, confining the inquiry to

allegations in the complaint, or factual, permitting the court to look beyond the complaint.” 9 “The

district court resolves a facial attack as it would a motion to dismiss under Rule 12(b)(6):

Accepting the plaintiff’s allegations as true and drawing all reasonable inferences in the plaintiff’s

favor, the court determines whether the allegations are sufficient as a legal matter to invoke the

court’s jurisdiction.” 10 Once raised, “[t]he party asserting federal jurisdiction has the burden of

establishing it.” 11




original motion in error and counsel sent a notice to alert Plaintiff to the amended motion.
Docket 25. Two months later, the Court issued an order at Docket 29 that Plaintiff submit his
opposition to the amended motion within three weeks. That deadline was April 17, 2019.
Although no amended opposition was ever submitted, Plaintiff filed a Motion for Preliminary
Injunction on May 8, 2019. Docket 32. With that contact to the Court, the Court imputes
knowledge of all the notices and filings relating to the instant motion to the Plaintiff. The Court
presumes Plaintiff intended to rest on his previously filed opposition, Docket 24.
         9
           Savage v. Glendale Union High Sch., 343 F.3d 1036, 1039 n.2 (9th Cir. 2003).
        10
           Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir.), cert. denied, 135 S. Ct. 361 (2014)
(citing Pride v. Correa, 719 F.3d 1130, 1133 (9th Cir. 2013)).
        11
           Miguel v. Country Funding Corp., 309 F.3d 1161, 1164 (9th Cir. 2002).
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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B.      Rule 12(b)(6) Motions to Dismiss

                Federal rules require courts to dismiss a complaint that fails to state a claim upon

which relief can be granted. 12 The inquiry is limited to the contents of the complaint. 13 A

complaint must be dismissed when it does not give defendants fair notice of a legally cognizable

claim and factual allegations in support of the claim. 14 The claim must be facially plausible,

informed by the Court’s reliance on experience and common sense. 15 The Court accepts as true

all factual allegations. 16 The Court, however, is not obligated to accept conclusory allegations,

unjustified deductions of fact, or unreasonable inferences. 17 It is the “plaintiff’s obligation to

provide the grounds of his entitlement to relief” and this “requires more than labels and

conclusions.” 18

                Under Rule 8(a)(2), the complaint must include “a short and plain statement of the

claim showing that the pleader is entitled to relief.” The standard demands more than a mere

accusation of harm. 19 “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation

of the elements of a cause of action will not do.’” 20

                Finally, in conducting its review, the Court must liberally construe a self-

represented person’s pleading and give a pro se plaintiff the benefit of any doubt. 21 The Court is


        12
           Fed. R. Civ. P. 12(b)(6); see North Star Int’l v. Ariz. Corp. Comm’n, 720 F.2d 578, 581
(9th Cir. 1983).
        13
           North Star Int’l, 720 F.2d at 581 (citing Lodge 1380, Bhd. of Ry., Airline & S.S. Clerks,
Freight Handlers, Exp. & Station Employees (BRAC) v. Dennis, 625 F.2d 819, 824 (9th Cir.
1980)).
        14
           See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
        15
           Id. at 570.
        16
           Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
        17
           Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
        18
           Bell Atl. Corp., 550 U.S. at 555 (quotations omitted).
        19
           Iqbal, 556 U.S. at 678 (quoting Bell Atl. Corp., 550 U.S. at 555).
        20
           Id. (quoting Bell Atl. Corp., 550 U.S. at 555).
        21
           Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citation omitted).
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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not aware of any Ninth Circuit precedent discussing whether a lawyer who represents himself must

be afforded the same leniency, but the Court is inclined to do so here.

C.      Leave to Amend

                  As discussed fully in this Court’s order at Docket 31, the court should freely give

leave to amend “when justice so requires” 22 and in the absence of reasons “such as undue delay,

bad faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party by virtue of allowance of

the amendment, futility of amendment, etc.” 23

                                          IV. DISCUSSION

A.      The Court Must Dismiss Plaintiff’s Claims Because It Lacks Subject Matter
        Jurisdiction

                  Before considering the merits of the claims, Plaintiff’s complaint must be dismissed

because this Court clearly lacks subject matter jurisdiction over those claims. 24 Plaintiff’s claims

against Defendant Judges are moot, as they present no actual case or controversy that can be

adjudicated, and because the Rooker-Feldman doctrine precludes federal district courts from ruling

on state-court judgments in these circumstances.

        (1)       Mootness

                  Federal courts have no power to hear moot claims because, by definition, they

present no actual ongoing case or controversy within the meaning of Article III of the U.S.

Constitution.25     If a plaintiff’s claim is deemed moot, they have not effectively pleaded a


        22
            Fed. R. Civ. P. 15(a)(2).
        23
            Foman v. Davis, 371 U.S. 178, 182 (1962).
         24
            Fed. R. Civ. P. 12(b)(1).
         25
            Powell v. McCormack, 395 U.S. 486, 496 n.7 (1969). See also Lewis v. Continental
Bank Corp., 494 U.S. 472, 477–78 (1990) (explaining that under Article III, a dispute must concern
‘live’ issues, and generally plaintiffs must have a personal interest in the outcome of the case).
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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“threatened or actual injury resulting from the putatively illegal action” and consequently, a federal

court cannot “assume jurisdiction.” 26

                 Here, Plaintiff’s claims are moot because there is no relief this Court can grant to

redress any injury. There is no possibility a decision on the merits would make any difference

whatsoever to Plaintiff. 27 Plaintiff is asking for this Court to grant him injunctive relief or any

other relief that the Court deems appropriate against each of the Defendant Judges. 28 He does not,

at the outset, specify what relief he believes this Court can provide him, but believes that Defendant

Judges are violating his equal protection rights. 29

                 To establish an injury sufficient for Article III jurisdiction, Plaintiff must allege that

he (1) faced a “concrete, particularized, and imminent injury”; (2) the injury was “traceable to the

conduct” for which he sought relief; and (3) a favorable ruling would redress the injury. 30

                 Here, Plaintiff complains that Judge Corey, Judge Marston, and Judge Peterson

denied him equal protection of the law by making erroneous rulings. 31 He alleges, without factual

support, that Presiding Judge Morse “may have played a role” in allowing the trial judges’

erroneous rulings. 32 He also alleges that Judge Corey, Judge Marston, and Judge Peterson acted

outside the superior court’s jurisdiction. 33 He alleges that Judge Peterson acted intentionally and

was not impartial. 34 However, Plaintiff does not explain how these erroneous or intentionally

incorrect rulings caused a concrete or particular injury that could be redressable by this Court.


        26
             Linda R.S. v. Richard D., 410 U.S. 614, 617 (1973).
        27
             Timbisha Shoshone Tribe v. U.S. Dep’t of Interior, 824 F.3d 807, 814 (9th Cir. 2016).
        28
             Docket 1 at 3–4.
        29
             Id. at 22, 13.
        30
             Moore v. Urquhart, 899 F.3d 1094, 1099 (9th Cir. 2018).
        31
             Docket 1 at 12, 15, 18, 19, 20.
        32
             Id. at 24.
        33
             Id. at 13, 17 (alleging Judge Marston “took” jurisdiction without authority), 19, 21.
        34
             Id. at 21.
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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Indeed, it appears impossible for Plaintiff to plead an actual injury given the circumstances, as

explained below. This deficiency renders his claims moot.

                Plaintiff presumes an injury has occurred because he has received adverse rulings,

and he attributes those decisions to judicial bias and conspiracy against him. However, the first

step in challenging perceived erroneous rulings by the Defendant Judges sitting on the Alaska

Superior Court is an appeal to the Alaska Supreme Court. Because Plaintiff may obtain relief via

proper appellate procedure, there is no actual injury at this time for this Court to evaluate.

Therefore, Plaintiff’s claims of harm from Defendant Judges’ past rulings are moot. Likewise,

Plaintiff is unsuccessful at establishing a prospective actual injury for two reasons. First, it is too

speculative to say what future rulings will be on various motions. 35 Second, Plaintiff cannot

establish actual harm by any trial court decision because a truly erroneous ruling would properly

be cured on appeal to the Alaska Supreme Court. If that were not sufficient, the U.S. Supreme

Court is the proper appellate body, as it is the only federal court with appellate jurisdiction over

State court decisions. 36

                Even more simply, the claims against Defendant Judges Corey, Marston, Morse,

and Peterson are moot because none of them are currently involved in Plaintiff’s case. 37 Plaintiff



        35
           Wolfson v. Brammer, 616 F.3d 1045, 1057 (9th Cir. 2010) (matters involving speculative
injury are not ripe for review; this “prevents courts from becoming entangled in abstract
disagreements”) (citations and internal quotations omitted).
        36
           Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923); District of Columbia Court of Appeals
v. Feldman, 460 U.S. 462 (1983).
        37
           A search for 3AN-09-10971CI on https://records.courts.alaska.gov/eaccess as of
May 10, 2019, lists Administrative Judicial Reassignments for Judge Corey on August 31, 2015,
and for Judge Marston on December 14, 2017, as “Judge Caseload Transfers.” Judge Corey is no
longer on the court. Judge Marston and Judge Morse have not been involved in this case since
Judge Peterson was assigned to it. Docket 21 at 11–12. Furthermore, it is evident that Judge
Peterson will no longer be hearing this case due to an Administrative Reassignment on April 26,
2019. This Court takes judicial notice of these facts and dates in the public record.
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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has not identified sufficient supporting facts that would demonstrate a likelihood that any of the

Defendant Judges will act to cause him injury in the future.

                Consequently, federal courts lack jurisdiction over Plaintiff’s claims against

Defendant Judges. Furthermore, the Ninth Circuit has elaborated that “it would be pointless” to

grant injunctive or declaratory relief as to moot claims. 38 There is no possibility that a decision on

the merits—even if this Court were to find Defendant Judges liable for a civil rights act violation—

would make any difference to Plaintiff whatsoever. 39

        (2)     Rooker-Feldman

                The Rooker-Feldman doctrine, which applies when “state-court losers [complain]

of injuries caused by state-court judgments,” prevents this Court from having subject matter

jurisdiction to hear any of the claims against Defendant Judges, 40 even if any Defendant were still

assigned to Plaintiff’s case and even if Plaintiff showed he would likely suffer a prospective injury.

Marciano v. White 41 is an unreported Ninth Circuit case in which a plaintiff sought injunctive relief

in federal court against a state court judge. Plaintiff Marciano’s requested relief was that the

federal court overturn the state judge’s decisions that he believed violated his constitutional

rights. 42 The district court dismissed Marciano’s complaint in part because it lacked subject matter

jurisdiction under Rooker-Feldman.          The Ninth Circuit approved, noting that Marciano’s

complaint invited a particularly direct application of the doctrine: a lawsuit “against the state court



        38
           Tahoe–Sierra Preservation Council, Inc. v. Tahoe Regional Planning Agency, 911 F.2d
1331, 1335 (9th Cir. 1990).
       39
           Timbisha Shoshone Tribe, 824 F.3d at 813–14.
       40
            Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 283 (2005); see also
Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 21 (1987) (“federal courts lack jurisdiction to engage in
appellate review of state court-determinations”).
       41
          431 F. App’x 611 (9th Cir. 2011).
       42
           Id. at 612.
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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judge herself” for her judicial decisions. 43 Marciano’s case is identical in approach to Plaintiff’s

case here, and is “precisely the kind of legal action meant to be barred from federal court by the

Supreme Court’s Rooker-Feldman decisions.” 44

                 For both of the above reasons, this Court does not have subject matter jurisdiction

over Plaintiff’s claims, and the claims must be dismissed pursuant to Rule 12(b)(1).

B.      The Court Must Dismiss Plaintiff’s Claims Because Defendant Judges are Immune
        From Suit

                 If the Court were to have subject matter jurisdiction, however, Plaintiff’s claims

against Defendant Judges still would be dismissed for failure to state a claim for which relief can

be granted under Rule 12(b)(6) because Defendant Judges are immune from liability. Judicial

immunity regarding damages was previously explained by this Court. 45 As discussed there,

immunity jurisprudence states that judges are always immune from damages liability, yet they may

not be immune from claims seeking declaratory or injunctive relief. 46 Plaintiff relies on that

notion, specifying that he is not seeking damages from Defendant Judges, only injunctive relief. 47

                 However, judicial immunity in the civil rights statutes extends to “any action

brought against a judicial officer for an act or omission taken in such officer’s judicial capacity,

. . . unless a declaratory decree was violated or declaratory relief was unavailable.” 48 Plaintiff does

not claim that a declaratory decree was violated nor that declaratory relief was unavailable. For




        43
             Id.
        44
             Id.
        45
             Docket 31 at 11.
        46
             See, e.g., Pulliam v. Allen, 466 U.S. 522, 541–42 (1984); Moore, 899 F.3d at 1104.
        47
             Docket 1 at 2–3, 3, 4, 18, 48.
        48
             42 U.S.C. § 1983; Moore, 899 F.3d at 1104.
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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this reason, Plaintiff has failed to overcome the bar of judicial immunity to state a claim for which

relief can be granted. 49

C.      The Court Must Abstain From Considering These Claims Under The Younger
        Abstention Doctrine

                Defendants argue that even if the Court had jurisdiction over this case, the proper

procedure would be to abstain from ruling under the Younger 50 abstention and doctrines of equity

and comity. 51 The Court agrees that it should not engage in “continuous supervision by the federal

court” of the state court orders that Plaintiff opposes. 52 Those complaints are properly heard on

appeal to the Alaska Supreme Court. 53

                Assuming, arguendo, that this Court had subject matter jurisdiction, and the claims

against the Defendant Judges were not moot, and assuming the judicial immunity exception would

not apply to Defendant Judges, this Court still would refrain from ruling on Plaintiff’s claims for

the time being. Restraint is mandated by the abstention doctrine explained in Younger.

D.      Leave To Amend Complaint Would Be Futile

                On a final note, further discussion is warranted on the absence of Plaintiff’s

responsive opposition to Defendant Judge’s amended motion. 54 The Court proceeded in its

analysis because it is absolutely clear as a matter of law that this Court lacks jurisdiction to hear



        49
           See Marciano, 431 F. App’x at 612.
        50
           Younger v. Harris, 401 U.S. 37 (1971).
        51
           The Ninth Circuit in Marciano also discussed application of the Younger abstention to
dismiss Marciano’s claims, after the district court identified “the ethics and competence of a state
court judge” as implicating important state interests. Marciano, 431 F. App’x at 613. The Ninth
Circuit clarified that other “uniquely state interests such as preservation of these states’ peculiar
statutes, schemes, and procedures” are required for Younger abstention to apply. Id. (citing
AmerisourceBergen Corp. v. Roden, 495 F.3d 1143, 1150 (9th Cir. 2007)) (emphasis omitted).
        52
           Docket 21 at 15; O’Shea v. Littleton, 414 U.S. 488, 501 (1974).
        53
           See discussion supra, Section IV(A)(ii).
        54
           See supra, note 8.
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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the case. There simply is no persuasive argument in opposition. For the same reasons, granting

leave to amend the complaint would be futile, because it is not possible for Plaintiff to assert any

facts that would create subject matter jurisdiction for this Court to consider his claims.

                 Moreover, for many of the reasons that this Court determined amendment of the

complaint would be futile with respect to Defendant Torgerson, 55 Plaintiff’s claims against

Defendant Judges could not possibly be cured with the allegation of additional facts. Accordingly,

the Court denies leave to amend the complaint.

                 For these reasons, Defendant Judges Corey, Marston, Peterson, and Morse’s

Motion to Dismiss at 21 is GRANTED.                  Plaintiff’s complaint is DISMISSED WITH

PREJUDICE as to all remaining Defendants (Defendant Judges) and all remaining Claims

(Claims I–IV). Leave to amend is DENIED.

                 Still to be resolved in this case is a Motion for Preliminary Injunction that Plaintiff

filed on May 8, 2019, at Docket 32. Plaintiff does not identify any basis for this Court to have

jurisdiction or authority to grant a preliminary injunction, and there appears to be no such authority

to address this issue in federal court. Therefore, further briefing is not necessary, and the Motion

for Preliminary Injunction is hereby DENIED. This resolves all issues raised by Plaintiff’s

complaint which is now hereby DISMISSED in its entirety WITH PREJUDICE.

                 IT IS SO ORDERED this 15th day of May, 2019, at Anchorage, Alaska.


                                                                     /s/ Ralph R. Beistline
                                                                   RALPH R. BEISTLINE
                                                              Senior United States District Judge




        55
             See Docket 31 at 13–15.
Pederson v. Morse, et al.                                                      Case No. 3:18-cv-00252-RRB
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